                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE


MICHELLE BEREDA, ANGELENE                         Case No.
HOEFFKEN, and SCOTT NERI, individually
and on behalf of all others similarly situated,
                                                  CLASS ACTION COMPLAINT
                   Plaintiffs,
       v.
                                                  JURY TRIAL DEMANDED
NISSAN NORTH AMERICA, INC., and
NISSAN MOTOR CO., LTD.,

                   Defendants.




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       Michelle Bereda, Angelene Hoeffken, and Scott Neri (“Plaintiffs”) bring this class action

against Nissan North America, Inc. (“NNA”) and Nissan Motor Co., Ltd. (“NMC”) (together,

“Nissan” or “Defendants”), individually and on behalf of the below-defined statewide classes they

respectively seek to represent (collectively, the “Class”) consisting of all persons who currently or

formerly owned or leased any Nissan brand light vehicle equipped with a Continental ARS410

radar sensor, including the following: 2019-2021 Maxima, 2020-2021 Sentra, 2020-21 Versa,

2017-2021 Rogue Sport, 2019-2021 Altima, 2020-2021 Kicks, 2017-2020 Rogue, 2021 Armada,

2018-2021 Leaf, 2019-2021 Murano, 2020-2021 Titan (hereinafter, the “Class Vehicles”). The

allegations herein are based on personal knowledge as to Plaintiffs’ own conduct and are made on

information and belief as to all other matters based on an investigation by counsel.

                                  NATURE OF THE ACTION

       1.      In its quest to be commercially competitive, Nissan designed, tested, validated,

marketed, and sold its Forward Emergency Braking system (“FEB”) that is featured in every Class

Vehicle. According to Nissan itself:

               [T]his intelligent feature uses radar technology to monitor a
               vehicle’s proximity to the vehicle ahead, giving the driver audible
               and visual display warnings to help the driver reduce the vehicle’s
               speed if a potential frontal collision is detected. If the driver fails to
               respond, the [Forward Emergency Braking] system can apply the
               brakes, helping the driver to avoid the collision or reduce the speed
               of impact if it is unavoidable.1

       2.      However, Defendants wrongfully and intentionally concealed, and continue to

conceal, from the pre-purchase/lease transaction to the present day, one or more defects in the




1
  The Confidence of Nissan Safety Technology, Nissan Safety Features & Technologies (Dec. 16,
2019),
https://www.nissanusa.com/experience-nissan/news-and-events/car-safety-features-
technology.html (last visited May 7, 2020).

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Class Vehicles’ FEB system that can cause it to falsely engage or otherwise not work as intended

(“FEB Defect”). The FEB Defect causes, among other things, (1) the Class Vehicles to detect non-

existent obstacles, thereby automatically triggering the brakes and causing the Class Vehicles to

abruptly slow down or come to a complete stop with no actual need to do so, and/or (2) the FEB

system to deactivate itself, thereby distracting the driver and rendering the FEB system disabled

and useless. In either scenario, however, the FEB system is not a safety feature, as Nissan claimed,

but rather an unpredictable and unreasonable safety hazard.

       3.      The FEB Defect can cause the Class Vehicles to stop without warning during

normal and intended vehicle operation, thereby posing an unreasonable safety hazard to drivers,

passengers, other motorists, and pedestrians. Plaintiffs and other Class members have reported

significant, unexpected phantom decelerations and stops due to the false engagement of the Class

Vehicle’s FEB system, even though no objects – vehicles, pedestrians, or otherwise – were nearby.

Additionally, Plaintiffs and other Class members have complained that the FEB system also

frequently deactivates itself, detracting their focus from the road and rendering the FEB safety

feature useless.

       4.      Nissan marketed, and continues to market, the Class Vehicles, and the FEB system

specifically, as safe and reliable. Defendants, however, failed to disclose the FEB Defect to

consumers, despite their knowledge that the Class Vehicles were defective and not fit for their

intended purpose of providing consumers with safe and reliable transportation at the time of the

sale and thereafter. Defendants have actively concealed and continue to conceal the true nature

and extent of the FEB Defect from Plaintiffs and the other Class members after failing to disclose

it to them at the time of purchase, lease or repair. Had Plaintiffs and the other Class members

known about the FEB Defect, they would not have purchased and/or leased the Class Vehicles or




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would have paid less for them. As a result of their reliance on Defendants’ concealment/omissions,

and its active concealment, Plaintiffs and the other Class members have suffered an ascertainable

loss of money, property, and/or loss in value of their Class Vehicles.

       5.      Despite notice of the FEB Defect from, among other things, pre-production testing,

consumer complaints, warranty data, and dealership repair orders, Defendants have not recalled

the Class Vehicles to repair the FEB Defect, have not offered Plaintiffs and the other Class

members a suitable repair or replacement free of charge, and have not offered to reimburse

Plaintiffs and the other Class members the costs they incurred relating to diagnosing and repairing

the FEB Defect or for the value consumers paid for the FEB feature in the first place. Defendants

have refused to repair or replace the Class Vehicles despite the fact that the Class Vehicles are

under a comprehensive warranty, as explained in detail below. Thus, Defendants have wrongfully

and intentionally transferred the cost of repair of the FEB Defect to Plaintiffs and the other

members of the Classes by fraudulently concealing the existence of the FEB Defect.

       6.      Under the warranties provided to Plaintiffs and the other members of the Classes,

Defendants promised to repair or replace defective FEB components arising out of defects in

materials and/or workmanship, such as the FEB Defect, at no cost to owners or lessors of the Class

Vehicles. For illustrative purposes, NNA offers a 36-month or 36,000-mile Basic Warranty that

“covers any repairs needed to correct defects in materials or workmanship of all parts and

components of each new Nissan vehicle supplied by Nissan.”2

       7.      Defendants breached their express and implied warranties through which they

promised to, inter alia, (1) provide Class Vehicles fit for the ordinary purpose for which they were



2
  Nissan, 2016 Warranty Information Booklet,
https://owners.nissanusa.com/content/techpub/common/2016/2016-nissan-warranty-booklet.pdf
(last visited Feb. 7, 2022).


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sold; and (2) repair and correct manufacturing defects or defects in materials or workmanship of

any parts they supplied, including in the FEB System. Because the FEB Defect was present at the

time of sale or lease of the Class Vehicles, Defendants are required to repair or replace the Class

Vehicles pursuant to the terms of the warranty. Instead, Nissan has wrongfully shifted the cost of

repairing the FEB Defect, or replacing the vehicle, to Plaintiffs and the other Class members.

These costs are significant, and no reasonable consumer expects to incur such costs.

       8.      Defendants and their network of authorized dealers possess exclusive and superior

knowledge and information regarding the FEB Defect. Despite this, Defendants have failed to

notify Plaintiffs and the other Class members of the FEB Defect, who could not have reasonably

discovered the defect through due diligence. Similarly, Nissan has failed to provide Plaintiffs and

the other Class members with any fix or remedy for the FEB Defect, despite voluminous customer

complaints.

       9.      While promoting the standard, quality, and/or grade of the Class Vehicles, Nissan

knowingly concealed/omitted, and actively conceals, the existence of the FEB Defect at the time

of purchase or lease or otherwise to increase its profits and decrease its costs (by selling additional

Class Vehicles and transferring the cost of the repair of the FEB Defect, or replacement of the

vehicle, to Plaintiffs and the other Class members).

       10.     Defendants knowingly omitted, concealed and suppressed material facts regarding

the FEB Defect, and misrepresented the standard, quality or grade of the Class Vehicles, all at the

time of purchase or lease or otherwise, which directly caused harm to Plaintiffs and the other

members of the Classes. As a direct result of Defendants’ wrongful conduct, Plaintiffs and the

other members of the Classes have suffered damages, including, inter alia: (1) out-of-pocket

expenses for repair of the FEB Defect; (2) costs for future repairs or replacements; (3) sale of their




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vehicles at a loss; (4) diminished value of their vehicles; and/or (5) the price premium attributable

to the FEB feature.

       11.     Plaintiffs and the other Class members therefore assert claims against Defendants

for fraud, breach of express and implied warranties, violation of the Magnuson-Moss Warranty

Act, 15 U.S.C. § 2301, et seq., violation of statutory deceptive trade practices laws of each

respective state, and unjust enrichment. As alleged herein, Defendants’ wrongful conduct has

harmed owners and lessors of the Class Vehicles, and Plaintiffs and the other members of the

Classes are entitled to damages and injunctive and declaratory relief.

                                 JURISDICTION AND VENUE

       12.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 (federal

question). This Court has jurisdiction over supplemental state law claims pursuant to 28 U.S.C.

§ 1367.

       13.     This Court also has jurisdiction over this action pursuant to the Class Action

Fairness Act (“CAFA”). 28 U.S.C. § 1332(d)(2). The matter in controversy, exclusive of interest

and costs, exceeds the sum or value of $5,000,000 and is a class action in which there are more

than 100 members of the Classes, members of the Classes (as defined below) are citizens of states

different from Defendants, and greater than two-thirds of the members of the Classes reside in

states other than the states in which Defendants are citizens.

       14.     This Court has general jurisdiction over NNA, because NNA’s principal place of

business is in this district. This court has specific jurisdiction over NML, because NML conducts

substantial business in this District and some of the actions which gave rise to the claims took

place in this state; and products, materials, or things processed, serviced, or manufactured by NML

anywhere were used or consumed in this state in the ordinary course of business, commerce, trade,

or use. NML is one of the largest automotive manufactures and sellers in the world. NML has, at


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all relevant times, conducted and continues to conduct business all over the country, including

Plaintiffs’ states and Tennessee.

       15.     Venue properly lies in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and

NNA is subject to personal jurisdiction in this District as a California corporation. Venue properly

lies in this District pursuant to 28 U.S.C. § 1391(c)(3) with respect to NMC because, as a non-

resident of the United States, NMC “may be sued in any judicial district.”

                                            PARTIES

Plaintiffs

       A. California

              i.   Plaintiff Hoeffken

       16.     Plaintiff Angelene Hoeffken is domiciled in California and resides in Cypress,

California.

       17.     Plaintiff Hoeffken purchased a new 2018 Nissan Rogue from a Nissan dealership

in Cerritos Nisan in Cerritos, California in June of 2018. Plaintiff Hoeffken’s Rogue is a Class

Vehicle equipped with the defective FEB.

       18.     Prior to purchasing her Class Vehicle, Plaintiff Hoeffken reviewed Nissan’s

promotional materials, such as Nissan’s website and the Monroney sticker, and interacted with at

least one sales representative without Nissan disclosing the FEB Defect.

       19.     Through her exposure and interaction with Nissan, Plaintiff Hoeffken was aware

of Nissan’s uniform and pervasive marketing message of dependability and safety, which is a

primary reason she purchased her Class Vehicle. However, despite touting the safety and

dependability of the Class Vehicles, at no point did Nissan disclose to her the FEB Defect.




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       20.       Plaintiff Hoeffken has experienced the FEB Defect on several occasions since she

started driving her Class Vehicle. Specifically, there have been multiple occasions where Plaintiff

Hoeffken was operating her Class Vehicle under intended and foreseeable circumstances when,

while driving in parking garages, the FEB light on the dashboard illuminated and the FEB system

engaged with no obstacle in the vehicle’s path. Plaintiff has also had the FEB Defect occur while

driving on the street from unidentified triggers with no vehicle in front of her.

       21.       Plaintiff Hoeffken did not receive the benefit of her bargain. She purchased a

vehicle of lesser standard, grade, and quality than represented, and she did not receive a vehicle

that met ordinary and reasonable consumer expectations regarding safe and reliable operation. The

FEB Defect has significantly diminished the value of Plaintiff Hoeffken’s Class Vehicle

       22.       Had Nissan Disclosed the FEB Defect, Plaintiff Hoeffken would not have

purchased her Class Vehicle, or certainly would have paid less to do so.

       B. Ohio

              i.    Plaintiff Bereda

       23.       Plaintiff Michelle Bereda is domiciled in Ohio and resides in Franklin, Ohio.

       24.       Plaintiff Bereda purchased a new 2018 Nissan Rogue from Jeff Schmitt Nissan in

Beavercreek, Ohio in May of 2018. Plaintiff Bereda’s Rogue is a Class Vehicle equipped with the

defective FEB.

       25.       Prior to purchasing her Class Vehicle, Plaintiff Bereda reviewed Nissan’s

promotional materials, such as the Monroney sticker, and interacted with at least one sales

representative without Nissan disclosing the FEB Defect.

       26.       Through her exposure and interaction with Nissan, Plaintiff Bereda was aware of

Nissan’s uniform and pervasive marketing message of dependability and safety, which is a




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primary reason she purchased her Class Vehicle. However, despite touting the safety and

dependability of the Class Vehicles, at no point did Nissan disclose the to her the FEB Defect.

       27.     Plaintiff Bereda has experienced the FEB Defect on multiple occasions since she

started driving her Class Vehicle.     While operating her Class Vehicle under intended and

foreseeable circumstances, her vehicle’s FEB will trigger while driving downhill near her home.

Further, in spring of 2021, while operating her Class Vehicle under intended and foreseeable

circumstances, the FEB engaged as she was nearing a road construction plate, bringing her vehicle

to a halt in the middle of a road.

       28.     Plaintiff Bereda did not receive the benefit of her bargain. She purchased a vehicle

of lesser standard, grade, and quality than represented, and she did not receive a vehicle that met

ordinary and reasonable consumer expectations regarding safe and reliable operation. The FEB

Defect has significantly diminished the value of Plaintiff Bereda’s Class Vehicle.

       29.     Had Nissan disclosed the FEB Defect, Plaintiff Bereda would not have purchased

her Class Vehicle, or certainly would have paid less to do so.

       C. North Carolina

              i.   Plaintiff Neri

       30.     Plaintiff Scott Neri is domiciled in North Carolina and resides in Thomasville,

North Carolina.

       31.     Plaintiff Neri purchased a used 2018 Nissan Rogue from Vann York Nissan in

High Point, North Carolina in July of 2020. Plaintiff Neri’s Rogue is a Class Vehicle equipped

with the defective FEB.

       32.     Prior to purchasing his Class Vehicle, Plaintiff Neri reviewed Nissan’s promotional

materials, such as the Monroney sticker, and interacted with at least one sales representative

without Nissan disclosing the FEB Defect.


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       33.      Through his exposure and interaction with Nissan, Plaintiff Neri was aware of

Nissan’s uniform and pervasive marketing message of dependability and safety, which is a

primary reason he purchased his Class Vehicle. However, despite touting the safety and

dependability of the Class Vehicles, at no point did Nissan disclose to him the FEB Defect.

       34.      Within months of purchase, Plaintiff Neri’s Class Vehicle experienced the FEB

Defect at less than 5,000 miles. While operating his vehicle under intended and foreseeable

circumstances, Plaintiff Neri’s Class Vehicle’s FEB will apply when a car in front of him enters

a turn lane. Plaintiff Neri’s Class Vehicle’s FEB will apply even when there is no longer a car in

front of him.

       35.      Plaintiff Neri did not receive the benefit of his bargain. He purchased a vehicle of

lesser standard, grade, and quality than represented, and he did not receive a vehicle that met

ordinary and reasonable consumer expectations regarding safe and reliable operation. The FEB

Defect has significantly diminished the value of Plaintiff Neri’s Class Vehicle.

       36.      Had Nissan disclosed the FEB Defect, Plaintiff Neri would not have purchased his

Class Vehicle, or certainly would have paid less to do so.

Defendants

       37.      Defendant Nissan North America, Inc. is a California corporation with its principal

place of business in Franklin, Tennessee. NNA engages in the design, manufacturing, advertising,

and marketing of Nissan automobiles, including the Class Vehicles. It markets and sells the Class

Vehicles nationwide, including in Tennessee and in each state where each Plaintiff resides.

       38.      Defendant Nissan Motor Co. Ltd. is a Japanese corporation headquartered in

Yokohama, Japan. NMC is the parent corporation of NNA and designs, manufactures, distributes,

markets and sells Nissan automobiles.




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       39.     Upon information and belief, NMC communicates with NNA concerning virtually

all aspects of the Nissan vehicles it distributes within the United States. At all relevant times, NNA

acted as an authorized agent and/or alter ego of NMC while performing activities including, but

not limited to, advertising, warranties, warranty repairs, dissemination of technical information,

and monitoring the performance of the Class Vehicles in the United States.

       40.     Upon information and belief, and at all relevant times, NMC has the contractual

right to exercise, and in practice has exercised, control over NNA’s work, including, but not

limited to, the design of the Class Vehicles, the manner of Class vehicles’ marketing, the scope of

written warranties, the scope of repairs in practice to be covered under warranty, and

representations made and facts withheld from consumers and the public about the Emergency

Braking Defect. NMC has been directly involved in assisting, directing and controlling NNA and

NNA’s authorized dealers, handling of Class Member complaints regarding the Emergency

Braking Defect.

       41.     NMC has held NNA out as its agent for all purposes in the United States, especially

as it relates to sales and marketing of Class Vehicles and for ongoing management of relationships

with purchasers and lessees of Class Vehicles. It established NNA as a wholly-owned subsidiary

company and allows NNA to use to the name and likeness of Nissan throughout the United States.

NMC provided NNA with marketing and technical materials avoiding any distinction between

NNA and NMC and instead representing NNA as nothing less than NMC’s presence in the United

States for purposes of selling and leasing “Nissan” branded vehicles and providing relating

services.




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                     FACTS COMMON TO ALL CAUSES OF ACTION

       A.      The FEB System Defect.

       42.     In 2017, Nissan began offering the feature known as “Forward Emergency

Braking” (“FEB”) as on option on the Class Vehicles. For example, FEB was available as a part

of the $2,020 “SL Premium Package” option on the 2017 Nissan Rogue SL.

       43.     As demonstrated below,3 the FEB system utilizes a radar and/or camera system

that measures the distance between the vehicle and its surrounding objects. If the FEB system

detects a rapid decrease in distance between the vehicle and an object accompanied with no driver

responsive inputs, the FEB system “provide[s] audible and visual alerts and appl[ies] braking to

help you avoid or mitigate a frontal collision with a vehicle ahead.”




       44.     However, Nissan under designed, engineered, tested, and validated the FEB

system. The FEB Defect, among other things, causes (1) the Class Vehicles to detect non-existent

obstacles, triggering a braking response and causing the Class Vehicles to abruptly decelerate or

stop completely, despite no need for this action., and/or (2) the FEB system to deactivate itself,

thereby distracting the driver and rendering the FEB system unavailable and useless. The FEB



3
     https://www.glendalenissan.com/blog/how-does-nissan-automatic-emergency-braking-work/
(last visited May 20, 2020).


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Defect presents a safety hazard that distracts the Class members and renders the Class Vehicles

unreasonably dangerous to consumers because it severely impacts a driver’s ability to control

vehicle speed as expected under normal driving conditions and maintain an appropriate speed

based on traffic flow, thereby increasing the risk of a rear-end collision.

       45.     All Class Vehicles use the same or substantially similar FEB System.

       B.      Nissan’s Knowledge of the FEB Defect.

       46.     Nissan knew about the problem of false activations in its FEB systems years before

it put the first Class Vehicles on the market. Nissan became aware of the FEB Defect through

sources not available to Plaintiffs and the other members of the Classes, including, but not limited

to: pre-production testing, pre-production design failure mode and analysis data, production

design failure mode and analysis data, early consumer complaints made exclusively to Nissan’s

network of dealers and directly to Nissan, aggregate warranty data compiled from Nissan’s

network of dealers, testing conducted by Nissan in response to consumer complaints, and repair

order and parts data received by Nissan from Nissan’s network of dealers and suppliers, including

Bosch and Continental.

       47.     In addition, Nissan and other members of the automotive industry knew that, as a

new and not fully developed technology, automatic braking systems like FEB were prone to false

activations. Nissan manufactured and sold Class Vehicles equipped with this technology anyway.

       48.     As further evidence of Defendants’ pre-sale knowledge, the owner’s manuals for

earliest Class Vehicles alluded to the risk of false activations by stating “in some road or traffic

conditions, the FEB system may unexpectedly apply partial braking.” This warning about the

FEB system was buried in small text in the middle of owner’s manuals, which are several hundred

pages long. Notwithstanding the FEB system being touted as a safety feature, Defendants never

referenced or otherwise directed potential purchasers to this hidden disclaimer. As such, class


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members would only see this disclosure, if at all, after they purchased or leased the vehicles and

if they happened to fortuitously stumble upon it when reading the owner’s manual. Even then,

however, the disclosure is too vague, cursory, and non-specific to adequately warn anyone about

the true scope and extent of the dangers of the FEB Defect.

       49.     Nissan also began receiving an unusually large number of complaints about false

activations almost immediately after the earliest Class Vehicles were put on the market. Nissan

nonetheless continued to sell the Class Vehicles and continued to install the Continental ARS-410

radar in newer model-year Class Vehicles.

       50.     Nissan had and continues to have a duty to fully disclose the true nature of the FEB

Defect to Class Vehicle owners, among other reasons, because the FEB Defect poses an

unreasonable safety hazard; because Nissan had and has exclusive knowledge or access to material

facts about the Class Vehicles’ FEB systems that were and are not known to or reasonably

discoverable by Plaintiffs and the other members of the Classes; and because Nissan has actively

concealed the FEB Defect from its customers at the time of purchase or repair and thereafter.

       51.     Specifically, Defendants: (a) failed to disclose, at the time of purchase or repair

and thereafter, any and all known material defects or material nonconformities of the Class

Vehicles, including the FEB Defect; (b) failed to disclose, at the time of purchase or repair and

thereafter, that the Class Vehicles and their FEB systems were not in good working order, were

defective and prone to failure, and were not fit for their intended purpose; and (c) failed to disclose

and/or actively concealed the fact that the Class Vehicles and their FEB systems were defective,

despite the fact that Defendant learned of the FEB Defect before it placed the Class Vehicles in

the stream of commerce.




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       52.     On June 8, 2018, Nissan released TSB NTB18-041 concerning the “Unexpected

Operation of AEB, FEB OR FCW [Forward Collision Warning]” in 2018 Rogue, Rogue Hybrid,

and Rogue Sport vehicles. The TSB stated that “The following system(s) operate unexpectedly or

the customer reports unexpected operation: AEB (Automatic Emergency Braking); FEB (Forward

Emergency Braking); FCW (Forward Collision Warning). On July 19, 2018, Nissan released an

amended TSB NTB18-041a, updated to include 2017-18 Rogue, Rogue Hybrid, and Rogue Sport

vehicles. Neither of these TSB’s prevented false activations from occurring, and Nissan continued

to receive complaints about false activations after issuing these TSBs.

       53.     Since mid-2018, Nissan has issued approximately 11 different TSBs, quality

actions, or other service campaigns directed at eliminating false activations in the Class Vehicles.

To this day, Nissan still has not found a solution to false activations.

       54.     On January 25, 2019, Nissan released NPSB18-443 AEB U – “Automatic

Emergency Braking (AEB) Update Notification Letter” – related to the 2017-2018 Nissan Rogue

and Rogue Sport. In this bulletin, Nissan stated “[i]n rare instances and unique roadway

environments such as certain types of railroad crossings and metal overpasses, the AEB system in

some vehicles may activate braking when not needed.” However, the statement that false

activations only occurred in “rare instances and unique roadway environments” was false, and

Nissan knew the statement was false. Drivers were experiencing false activations in ordinary and

common driving scenarios, like two lane streets, highways, and parking garages.

       55.     As the Center for Auto Safety (“CAS”) just explained on March 21, 2019, this

“‘Customer Service Initiative’ intended to ‘increase awareness of an available update for the

Automatic Emergency Braking (AEB) system.’ Presumably, this update is the repair outlined in

the July 2018 TSB. … [However,] the summary portion available suggests that Nissan's




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communication to Rogue owners does not acknowledge the potential safety issue involved. The

language treats the problem as no more than a performance update, thus providing little incentive

for consumers to avail themselves of the repair opportunity until they experience the problem.”4

         56.     Federal law requires automakers like Nissan to notify (and update) the National

Highway Traffic Safety Administration of potential defects. See TREAD Act, Pub. L. No. 106-

414, 114 Stat. 1800 (2000). Accordingly, Nissan should (and does) monitor the NHTSA database

to track reports of defective FEB systems. From this source, Nissan knew that the Class Vehicles

were experiencing unusually high levels of false engagements causing abrupt slow-downs or stops

or deactivations.

         57.     As CAS explains, it “found 87 such complaints in NHTSA’s VOQ data for the

2017-18 Rogue. All of these complaints indicate that the Rogue’s [FEB] engaged when no

obstruction was in the path of the vehicle. Many complaints indicate that braking is abrupt or

forceful, endangering both the Rogue occupants as well as people in vehicles nearby, who are

forced to avoid a collision with a suddenly stopped vehicle.”5

           58.   Additionally, in early 2019, Nissan issued a Notice of Defect for 91,000 model

    year 2017 and 2018 Rogue vehicles “because their automatic emergency braking (AEB) system

    could unintentionally engage.”6 Despite acknowledging this dangerous defect to Transport

    Canada, NHTSA’s Canadian counterpart, Nissan has made no such efforts to recall any of its


4
  The Center for Auto Safety, Petition for Defect Investigation (Mar. 21, 2019),
https://www.autosafety.org/wp-content/uploads/2019/03/Center-for-Auto-Safety-Nissan-Rogue-
AEB-Defect-Petition-FINAL.pdf (last visited May 7, 2020). On March 21, 2019, CAS submitted
a petition to NHTSA to “initiate a Defect Investigation into false activation of the emergency
braking system that is placing Rogue owners and other road users in danger.” Id.
5
  Id.
6
  Nissan Canada recalls 90,000 Rogues over unintended braking, AUTOMOTIVE NEWS CANADA,
April 12, 2019, available at https://canada.autonews.com/automakers/nissan-canada-recalls-
90000-rogues-over-unintended-braking.



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AEB-equipped vehicles in the United States, even though there are no differences between the

Rogues Nissan sells to Canadian consumers and the Rogues it sells to American consumers.

Instead, it continued to equip Rogue and other Nissan-brand cars with the ARS410 radar.

       59.   In addition, in 2020, Nissan issued a recall for its X-Trail crossover SUV in Asia,

which uses the same platform as the Nissan Rogue in the United States and Canada. As reported

by one news agency in Asia, “[a]ccording to Nissan, these vehicles are fitted with a radar system

made by Continental. The affected radar model, ARS410 may activate especially when the X-

Trail maneuvers around ….bridges, parking garages, low-hanging traffic lights, and even steep

incline roads.” At that time, Nissan suggested turning off the FEB system to avoid false

activations until a software update could be installed. However, to date, Nissan still has not

developed a software update that eliminates false activations.

       60.   The following example complaints filed by consumers with NHTSA and posted on

the Internet demonstrate that the FEB Defect is a widespread safety hazard that continues to

plague the Class Vehicles. The complaints below are examples only, and do not represent the

universe of complaints that Nissan received. The number of complaints that Nissan received was

unusually high, which put Nissan on further notice of the FEB Defect.

      61.    Examples of complaints about the 2017 Nissan Rogue follow:

     Jan 10, 2018 - Mansfield, OH - Forward Collision Avoidance

             THERE IS A SAFETY ISSUE WITH THE FRONT BRAKING
             SYSTEM. THERE IS EVEN A DOCUMENT SEND TO THE
             NISSAN DEALERSHIPS NOTIFYING THEM THAT IT IS A
             KNOWN ISSUE, BUT THERE IS NO FIX AS OF YET THE
             ENGINEERS CANNOT EVEN FIND A CAUSE FOR THE
             ISSUE. I ASKED FOR A COPY OF THE LETTER, BUT, OF
             COURSE, IT IS A "CONFIDENTIAL" DOCUMENT AND ONLY
             PRIVILEGED PARTIES ARE ABLE TO HAVE ACCESS TO IT.
             WHAT HAPPENS IS THERE WILL BE AN AUDIBLE BEEPING
             (TWO-THREE TIMES) AND IMMEDIATELY AFTER YOUR
             CAR WILL SLAM ON THE BRAKES ON IT OWN, WHICH IN


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          TURN KICKS ON THE ANTI-LOCK BRAKES. THERE WILL
          BE NOTHING ON THE SENSOR OR NOTHING IN YOUR
          PATH IN FRONT OF YOU. IT DOES THIS SPONTANEOUSLY.
          THIS WAS WHILE I WAS DRIVING!!!! THIS HAS HAPPENED
          TO ME 3 TIMES ALREADY. WHEN HOOKED UP TO A
          DIAGNOSTIC TESTER, IT THROWS A CODE THAT THERE
          WAS SOMETHING IN FRONT OF THE SENSOR. THE DATE
          MARKED ON THIS CLAIM/REPORT WAS THE LAST TIME IT
          HAS HAPPENED....SO FAR....

   Dec 31, 2017 - Vacaville, CA - Forward Collision Avoidance

          THIS VEHICLE WAS PURCHASED NEW FROM THE
          DEALERSHIP, NISSAN OF VACAVILLE, ON 9-16-2017. ON
          10-26-2017 WHILE TRAVELING AT APPROXIMATELY 35
          MPH THE VEHICLE'S FORWARD EMERGENCY BRAKING
          SYSTEM (FEB) SUDDENLY AND UNEXPECTEDLY
          ACTIVATED, BRING THE CAR TO A FULL AND COMPLETE
          STOP IN THE MIDDLE OF THE ROAD. THE BRAKING
          SYSTEM DISENGAGED WITHIN A FEW SECONDS AND I
          WAS ABLE TO PULL TO THE SIDE OF THE ROAD. THERE
          WERE NO ADVERSE CONDITIONS, OBSTRUCTIONS, OR
          VEHICLES WITHIN A DANGEROUS DISTANCE TO HAVE
          CAUSED THE ACTIVATION. THE DASHBOARD WARNING
          LIGHTS DISPLAYED THE ALERT MESSAGE "WARNING"
          "MALFUNCTION." THE VEHICLE WAS SUBSEQUENTLY
          TOWED TO AUTOCOM NISSAN OF CONCORD FOR
          SERVICE AND DIAGNOSIS. I WAS TOLD CODES U1002,
          C1B5D, AND C1A16-97 WERE STORED IN THE COMPUTER
          SYSTEM. C1A16-97 RELATES TO AN OBSTRUCTION OR
          BLOCKED RADAR SENSOR, BUT THAT ALL THE STORED
          CODES WERE IN THE PAST. C1A16-97 WAS STORED AT
          1983 MILES - I EXPERIENCED NO ACTIVATION OF THE
          SYSTEM AT THAT TIME. ACCORDING TO THE
          DEALERSHIP THERE WERE NO STORED CODES RELATED
          TO TODAY'S INCIDENT. NISSAN TECH LINE MADE A
          REMOTE DIAGNOSIS AND CONCLUDED A LOOSE
          LICENSE PLATE FRAME LIKELY HAD CAUSED AND
          OBSTRUCTION, ACTIVATING THE SYSTEM. THIS IS IN
          CONFLICT WITH THE OWNERS MANUAL'S EXPLANATION
          OF FEB SHUT DOWN IN THE EVENT OF AN OBSTRUCTION.
          ON 12-19-2017 I RETURNED THE VEHICLE TO THE
          DEALERSHIP WHERE I PURCHASED THE CAR. AFTER
          FOUR DAYS OF DIAGNOSTIC AND ROAD TESTING I WAS
          TOLD THAT, ACCORDING TO NISSAN TECH LINE, SINCE
          THE DEALERSHIP WAS UNABLE TO DUPLICATE THE
          MALFUNCTION DURING THE TEST DRIVE, THEN THE CAR


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          IS CONSIDERED OPERATIONAL AND SAFE AND COULD
          BE RETURNED TO THE CUSTOMER. AND ALTHOUGH
          FINDING MULTIPLE PAST CODES STORED ECM-UL00L,
          ASB-UL002, BCM UL000-00, UL000-01, CLB40-49, CLB30-49,
          UL000-00, ICC /ADAS-C1B53-04, CLB54-00, UL000-01 ALL
          INDICATION MALFUNCTION. NONE OF WHICH HAVE
          BEEN RESOLVED OR REPAIRED. ## VIN PASSED ## NISSAN
          ROUGE S FWD 2017.5 ##

   Dec 22, 2017 - Roswell, GA - Forward Collision Avoidance

          THE FIRST TIME THE VEHICLE MALFUNCTIONED, I WAS
          DRIVING IN A GROCERY STORE PARKING LOT WITH A
          PERSONAL FRIEND AND SUDDENLY THE CAR'S
          EMERGENCY BRAKE PROTECTION ACTIVATED JOLTING
          THE CAR TO A STOP. THE SECOND OCCURRENCE WAS IN
          A PARKING DECK (DIFFERENT FROM THE FIRST
          LOCATION) AND THE CAR AGAIN ACTIVATED THE
          EMERGENCY BRAKE PROTECTION SYSTEM JOLTING THE
          CAR TO A STOP. I THEN FELT THIS WAS A SAFETY ISSUE
          AND BROUGHT THIS INTO THE NISSAN DEALERSHIP.
          THEY CHECKED THE CAR AND CALLED REPORTING
          THEY COULD NOT FIND ANYTHING WRONG WITH THE
          CAR AND I SHOULD PICK IT UP. I PICKED THE CAR UP
          AND CONTINUED TO DRIVE IT UNTIL I SWITCHED CARS
          WITH A PERSONAL FRIEND WHO USED THE CAR TO
          DRIVE ONE MILE BACK TO HOME DOWN A 4 LANE ROAD.
          UPON COMING TO AN INTERSECTION, SHE REPORTS SHE
          BEGAN SLOWING DOWN AND GOT IN A TURN LANE TO
          MAKE A LEFT ONTO OUR NEIGHBORHOOD ROAD AND AS
          SHE WAS APPROACHING THE LIGHT, THE CAR
          ACTIVATED THE EMERGENCY BRAKING SYSTEM, AGAIN
          JOLTING THE CAR TO A STOP. SHE STATES DURING AND
          AFTER THE CAR CAME TO A COMPLETE STOP, SHE KEPT
          HER FOOT ON THE BREAK THE ENTIRE TIME AND WHILE
          DECOMPRESSING THE BRAKE, THE CAR THEN JOLTED
          FORWARD CRASHING INTO THE CAR IN FRONT OF HER. I
          HAD THE CAR TOWED IN TO THE NISSAN DEALERSHIP
          AND HAD CORPORATE NISSAN STEP IN TO INVESTIGATE
          THE CAR. 6 WEEKS LATER THEY INVESTIGATED THE CAR
          REPORTING THAT NO ERROR WAS FOUND WITH THE CAR
          AND AGAIN I SHOULD PICK MY VEHICLE UP. I
          REQUESTED SPECIFIC TESTS AND ASKED THE TESTING
          PROCESS FOR THE CAR AND WAS ADVISED BY THE
          INVESTIGATION DEPARTMENT THAT THEY COULD NOT
          DISCLOSE THAT INFORMATION AND THAT THE TESTING



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          AND RESULTS WERE "PROPERTY OF NISSAN" AND THAT
          THEY WERE NOT OFFERING ANY FURTHER ASSISTANCE.

   Sep 30, 2018 - Carnegie, PA - Forward Collision Avoidance

          AUTO EMERGENCY BRAKING IS ACTIVATING WHEN
          THERE IS NO VEHICLE OR OBSTACLE IN FRONT OF ME. IT
          HAPPENEND THE FIRST TIME I LEFT THE DEALER ON AN
          OPEN HIGHWAY. IT HAPPENED AGAIN IN A DARK
          PARKING GARAGE, AND AGAIN WHEN I WAS GOING LESS
          THAN 10 MILES AN HOUR OVER RAILROAD TRACKS. IT
          HAPPENED TO MY HUSBAND GOING OVER A BRIDGE
          WITH METAL EXPANSION JOINTS. GOOD THING NO ONE
          WAS BEHIND US WHEN IT HAPPENED. I WILL BE CALLING
          THE DEALER IN THE MORNING. MY ROGUE HAS AROUND
          3,000 MILES ON IT.

    62.   Complaints concerning the 2018 Nissan Rogue are similar:

   Sep 24, 2018 - Medford, NY - Dynamic Brake Support/Brake Assist

          TL* THE CONTACT OWNS A 2018 NISSAN ROGUE. THE
          CONTACT STATED THAT THE VEHICLE'S AUTOMATIC
          BRAKING FEATURE INDEPENDENTLY ACTIVATED
          WHILE THE VEHICLE WAS BEING DRIVEN AT VARIOUS
          SPEEDS. THERE WERE NO OBSTACLES IN THE VEHICLE'S
          PATH. THE FAILURE OCCURRED WITHOUT WARNING ON
          APPROXIMATELY SIX OCCASIONS. THE DEALER AND
          MANUFACTURER WERE NOT NOTIFIED OF THE FAILURE.
          THE VEHICLE WAS NOT DIAGNOSED OR REPAIRED. THE
          FAILURE MILEAGE WAS APPROXIMATELY 1,600.

   Sep 17, 2018 - Lubbock, TX - Forward Collision Avoidance

          MY 2018 NISSAN ROGUE BRAKED SUDDENLY, FOR NO
          REASON. TRAVELING 30 MPH ON A QUIET
          NEIGHBORHOOD STREET. THE LIGHTS ON THE
          DASHBOARD FLASHED BRIEFLY, THERE WAS A LOUD
          GRINDING NOISE, THEN SUDDEN AND COMPLETE STOP
          IN THE MIDDLE OF THE ROAD. NO CARS IN FRONT OR
          BACK OF MINE. THE ONLY THING IN THE ROAD WAS A
          METAL    DRAIN    COVER.   VERY    FRIGHTENING
          EXPERIENCE.

   Jul 24, 2018 - The Villages, FL - Forward Collision Avoidance




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          WE PURCHASED 2018 NISSAN ROGUE IN JUNE. TODAY WE
          DROVE 75 MILES AND THE EMERGENCY BRAKING
          ACTIVATED 4 TIMES FOR NO REASON. ONCE ON THE
          INTERSTATE, ONCE ON THE OFF RAMP, AND TWICE ON
          THE HIGHWAY. THERE WERE NO RR TRACKS OR OTHER
          OBSTACLES. THIS HAS HAPPEN TO ME ON TWO OTHER
          OCCASIONS. THE VEHICLE HAS ALMOST 1000 MILES ON
          IT. I+M AFRAID SOMEONE WILL THINK I+M BRAKE
          CHECKING THEM! ILL BE SPEAKING TO THE DEALER,
          BUT I SAW OTHER COMPLAINTS HERE AND DECIDED TO
          REGISTER MINE ALSO. WHEN THIS HAPPENS IT SOUNDS
          AS IF YOU+RE DRIVING OVER +RUMBLE STRIPS+.

   Jul 12, 2018 - Pittsburgh, PA - Forward Collision Avoidance

          TWO WEEK OLD NISSAN ROGUE. THE EMERGENCY
          BRAKING SYSTEM ACTIVATES IN THE PARKING GARAGE
          WHERE I WORK. IT SEEMS TO HAPPEN ANYWHERE IN THE
          GARAGE (ANY FLOOR) AND WHEN I SURPASS ~15MPH.
          SPOKE WITH THE DEALER AND THEY ARE GOING TO
          TAKE A LOOK AT IT, BUT GOING BY THE NUMBER OF
          SIMILAR COMPLAINTS ON THIS SITE I'M BEGINNING TO
          THINK NISSAN NEEDS TO ISSUE A FIX AND RECALL.

    63.   Consumers have logged similar complaints regarding the Nissan Leaf:

   Jun 25, 2018 - Phoenix, AZ - Forward Collision Avoidance

          WHILE DRIVING FORWARD, THE VEHICLE SUDDENLY,
          UNEXPECTEDLY AND VIOLENTLY APPLIES THE BRAKES
          WITHOUT ANY DRIVER INPUT WHATSOEVER! THERE
          ARE NO OTHER VEHICLES OR PEDESTRIANS IN THE
          VICINITY AT THE TIME. THIS SUDDEN BRAKING
          PROBLEM BEGAN ON OR ABOUT 5/15/18 AND HAPPENED
          ON SEVERAL OCCASIONS AFTER THAT. TWICE WHILE
          ENTERING THE UNDERGROUND PARKING GARAGE AT
          AN OFFICE BUILDING AND TWICE WHILE DRIVING ON A
          CITY STREET. VEHICLE HAS BEEN AT THE LOCAL NISSAN
          DEALER FOR OVER A WEEK BUT NEITHER THE
          DEALERSHIP NOR THE MANUFACTURER APPARENTLY
          HAS ANY IDEA HOW TO FIX THE PROBLEM. THEY THINK
          THAT THERE IS A FAULT IN THE AUTOMATIC
          EMERGENCY BRAKING SYSTEM. THE SERVICE
          MANAGER TOLD ME THAT OTHER INSTANCES OF THE
          SAME ISSUE HAVE BEEN REPORTED TO NISSAN. THE
          SALESPERSON INDICATED THAT THERE WERE 4 OTHER
          SIMILAR CASES AT THEIR DEALERSHIP ALONE.THEY


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                 ALSO WILL NOT LET US TAKE THE VEHICLE HOME
                 WITHOUT SIGNING A RELEASE OF LIABILITY
                 DOCUMENT. THE OBVIOUS CONCERN IS THAT THE
                 EMERGENCY    BRAKING   SYSTEM    WILL   AGAIN
                 RANDOMLY ACTIVATE WHILE TRAVELING AT A HIGHER
                 SPEED AND CAUSE AN ACCIDENT RESULTING IN
                 SERIOUS PROPERTY DAMAGE AND INJURIES!

         64.     The above complaints represent only a sampling of otherwise voluminous

complaints regarding the FEB Defect that members of the Classes have reported to Nissan directly

and through its dealers.

         65.     Nissan knew the FEB Defect was present in all Class Vehicles equipped with the

FEB system, as demonstrated above, but it failed remedy the defect. Nissan’s halfhearted and

unconscionable acts deprived and continue to deprive Plaintiffs and Class members of the benefit

of their bargain. Had Plaintiffs and Class members known about the FEB Defect, they would not

have purchased their Class Vehicles, or certainly would have paid less to do so.

         C.      Nissan Touted the Safety of the Class Vehicles and the Capabilities of the FEB
                 System, Concealing the FEB Defect.

         66.     Nissan’s overarching marketing message for the Class Vehicles, and specifically

the FEB System, was and is that the FEB System creates a safe and reliable vehicle. This

marketing message is false and misleading given the FEB Defect, which distracts Class Members

and can cause the Class Vehicles to suddenly and unexpectedly come to a stop in the middle of

the road.

         67.     For example, Nissan dedicates a page on its website for the Nissan Safety Shield

360, touting “[a]ll-around protection” and, specifically, the FEB System:7




7
    https://www.nissanusa.com/safety-shield.html (last visited May 20, 2020).


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       68.    Nissan made similar representations throughout the class period:8




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 2017:        http://web.archive.org/web/20170603034454/https://www.nissanusa.com/intelligent-
mobility; and
 2019:       http://web.archive.org/web/20191109081152/https://www.nissanusa.com/experience-
nissan/intelligent-mobility.html


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       69.     Nissan touting the safety and reliability of the Class Vehicles and the FEB system

while knowing of the FEB Defect and its gross underperformance is unfair and unconscionable.

       70.     Although Nissan was aware of the widespread nature of the FEB Defect in the

Class Vehicles, and that it posed grave safety risks, Nissan has failed to take adequate steps to

notify all Class Vehicle owners of the FEB Defect and provide relief.

       71.     Defendants have not recalled the Class Vehicles to repair the FEB Defect and have

downplayed the severity of the FEB Defect in service campaigns. They have not offered Plaintiffs

and the other Class members a suitable repair or replacement of parts related to the FEB Defect

free of charge and have not reimbursed Plaintiffs and all other Class members who incurred costs

for repairs related to the FEB Defect.

       72.     Plaintiffs and the other Class members have not received the value for which they

bargained when they purchased or leased the Class Vehicles.

       73.     Defendants have deprived Plaintiffs and the other Class members of the benefit of

their bargain, exposed them all to a dangerous safety defect without any notice, and failed to repair

or otherwise remedy the FEB Defect contained in the Class Vehicles. As a result of the FEB

Defect, the value of the Class Vehicles has diminished, including without limitation, the resale

value of the Class Vehicles. Reasonable consumers, like Plaintiffs, expect and assume that a

vehicle’s FEB system and the related components are not defective and will not malfunction while

operating the vehicle as it is intended to be operated and thus did not receive the benefit of their

bargain, i.e., the price premium they paid attributable to the FEB system.

       74.     Plaintiffs and the other Class members further expect and assume that Nissan will

not sell or lease vehicles with known safety defects, such as the FEB Defect, and will fully disclose

any such defect to consumers prior to purchase, or offer a suitable, non-defective, repair.




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           D.    Nissan Received Pre-Suit Notice Multiple Times and in Multiple Ways.

           75.   Nissan had extensive and exclusive notice of the FEB Defect, as detailed above.

Additionally, given Nissan’s extensive and exclusive knowledge of the FEB Defect, its latency,

and Nissan’s inability to repair it, any notice requirement would be futile.

           76.   Nissan further had notice of the FEB Defect because it is currently subject to

litigation regarding the FEB Defect in the action In re: Nissan North America, Inc. Litigation, No.

3:19-cv-00843 (M.D. Tenn.). The named plaintiffs in that action each sent Nissan pre-suit notice

letters.

           77.   Nissan also had notice of each individual Plaintiffs’ claims because Plaintiffs

Hoeffken, Neri, and Bereda sent Defendants a letter providing pre-suit notice and demand for

corrective action concerning the defect at issue in this complaint. The notice specifically described

the defect at issue, stated the notice was being sent pursuant to California Civil Code § 1782,

U.C.C. § 2 314, Ohio Rev. Code Ann. § 1345.01 et seq.; and N.C.G.S.A. § 75-1.1, and stated

Defendants had breached warranties and violated California, Ohio and North Carolina consumer

statutes. The notice letter further stated that it was being sent on behalf of Angeline Hoeffken,

Scott Neri, and Michelle Bereda, and a putative nationwide class and California subclass, Ohio

subclass, and North Carolina subclass.

                                      CLASS ALLEGATIONS

           78.   Plaintiffs bring this action pursuant to Federal Rules of Civil Procedure 23(a) and

23(b)(1), (b)(2) and/or (b)(3) on behalf of the following Classes:

                 All persons or entities in California that purchased, lease, leased,
                 own or owned a Class Vehicle (the “California Class”);

                 All persons or entities in North Carolina that purchased, lease,
                 leased, own or owned a Class Vehicle (the “North Carolina
                 Class”);



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               All persons or entities in Ohio that purchased, lease, leased, own
               or owned a Class Vehicle (the “Ohio Class”);

       79.     Subject to additional information obtained through further investigation and

discovery, the foregoing definitions of the Classes may be expanded or narrowed by amendment

or amended complaint, or narrowed at class certification.

       80.     Specifically excluded from the Classes are Defendants, Defendants’ officers,

directors, agents, trustees, parents, children, corporations, trusts, representatives, employees,

principals, servants, partners, joint ventures, or entities controlled by Defendants, and their heirs,

successors, assigns, or other persons or entities related to or affiliated with Defendants and/or

Defendants’ officers and/or directors, the judge assigned to this action, and any member of the

judge’s immediate family.

       81.     Numerosity. The members of the proposed Classes are geographically dispersed

throughout the United States and are so numerous that individual joinder is impracticable. Upon

information and belief, Plaintiffs reasonably estimate that there are hundreds of thousands of

individuals that are members of the proposed Classes. Although the precise number of proposed

members are unknown to Plaintiffs, the true number of members of each of the Classes is known

by Defendants. More specifically, Nissan and its network of authorized dealers maintains

databases that contain the following information: (i) the name of each Class member that leased

or purchased a vehicle; and (ii) the address of each Class member. Thus, members of the proposed

Classes may be identified and notified of the pendency of this action by first class mail, electronic

mail, and/or published notice, as is customarily done in consumer class actions.

       82.     Typicality. The claims of the representative Plaintiffs are typical of the claims of

the Class in that the representative Plaintiffs, like all other members of the Classes, paid for Class

Vehicles designed, manufactured, and distributed by Defendants which are afflicted by the FEB



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Defect. The representative Plaintiffs, like all other members of the Classes, have been damaged

by Defendants’ misconduct in that they have incurred or will incur the cost of repairing or

replacing this malfunctioning FEB system and related parts as a result of the FEB Defect. Further,

the factual bases of Defendants’ misconduct are common to all members of the Classes and

represent a common thread of fraudulent, deliberate, and/or grossly negligent misconduct

resulting in injury to all members of the Classes.

       83.     Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all members of the Classes and predominate over any

questions affecting only individual members of the Classes. These common legal and factual

questions include, but are not limited to, the following:

      (a)      Whether the Class Vehicles suffer from the FEB Defect;

      (b)      Whether the Class Vehicles contain a design defect and/or a defect in material,
               manufacturing and/or workmanship;

      (c)      Whether the FEB Defect constitutes an unreasonable safety hazard;

      (d)      Whether Defendants knew or should have known about the FEB Defect and, if so,
               how long Defendants have known of the FEB Defect;

      (e)      Whether Defendants had a duty to disclose that the Class Vehicles suffer from the
               FEB Defect;

      (f)      Whether Defendants breached their duty to disclose that the Class Vehicles suffer
               from the FEB Defect;

      (g)      Whether Defendants intentionally and knowingly falsely misrepresented,
               concealed, suppressed and/or omitted material facts including the fact that the
               Class Vehicles suffered from the FEB Defect;

      (h)      Whether Defendants negligently and falsely misrepresented or omitted material
               facts including the fact that the Class Vehicles suffered from the FEB Defect;

      (i)      Whether Defendants made material misrepresentations and/or omissions
               concerning the standard, quality or grade of the Class Vehicles and the FEB Defect;




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      (j)      Whether members of the Classes would have paid less for the Class Vehicles if
               Defendants, at the time of purchase or lease, disclosed that the vehicles suffered
               from the FEB Defect;

      (k)      Whether Defendants are liable to Plaintiffs and the Classes for breaching their
               express and/or implied warranties;

      (l)      Whether Defendants are liable to Plaintiffs and the Classes for violation of the
               Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301, et seq. and/or any other
               statutory duties under state laws;

      (m)      Whether Defendants violated applicable state consumer protection statutes;

      (n)      Whether Defendants have been unjustly enriched; and

      (o)      Whether Plaintiffs and the Classes are entitled to damages, restitution, equitable,
               injunctive, compulsory, or other relief.

       84.     Adequacy of Representation. Plaintiffs will fairly and adequately protect the

interests of the Classes. Plaintiffs have retained counsel that is highly experienced in complex

consumer class action litigation, and Plaintiffs intend to vigorously prosecute this action on behalf

of the Classes. Furthermore, Plaintiffs have no interests that are antagonistic to those of the

Classes.

       85.     Superiority. A class action is superior to all other available means for the fair and

efficient adjudication of this controversy. The damages or other financial detriment suffered by

members of the Classes is relatively small compared to the burden and expense of individual

litigation of their claims against Defendants. It would, thus, be virtually impossible for members

of the Classes, on an individual basis, to obtain effective redress for the wrongs committed against

them. Furthermore, even if members of the Classes could afford such individualized litigation, the

court system could not. Individualized litigation would create the danger of inconsistent or

contradictory judgments arising from the same set of facts. Individualized litigation would also

increase the delay and expense to all parties and the court system from the issues raised by this

action. By contrast, the class action device provides the benefits of adjudication of these issues in



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a single proceeding, economies of scale, and comprehensive supervision by a single court, and

presents no unusual management difficulties under the circumstances.

        86.     In the alternative, the Classes may also be certified because:

                (a)    the prosecution of separate actions by individual members of the
                       Classes would create a risk of inconsistent or varying adjudication
                       with respect to individual Class members that would establish
                       incompatible standards of conduct for the Defendants;

                (b)    the prosecution of separate actions by individual Class members
                       would create a risk of adjudications with respect to them that
                       would, as a practical matter, be dispositive of the interests of other
                       members of the Classes not parties to the adjudications, or
                       substantially impair or impede their ability to protect their
                       interests; and/or

                (c)    Defendants have acted or refused to act on grounds generally
                       applicable to the Classes as a whole, thereby making appropriate
                       final declaratory and/or injunctive relief with respect to the
                       members of the Classes as a whole.

                                     CLAIMS FOR RELIEF

                                            COUNT 1
                                      Fraudulent Omission
                         (On behalf of Plaintiffs and the proposed Classes)

        87.     Plaintiffs incorporate and reallege each of the preceding paragraphs as though fully

set forth herein.

        88.     Plaintiffs bring this count on behalf of themselves and the other Class members.

        89.     Defendants intentionally and knowingly falsely concealed, suppressed, and/or

omitted material facts including the standard, quality or grade of the Class Vehicles and the fact

that the FEB system in the Class Vehicles is defective, exposing drivers, occupants, and members

of the public to safety risks with the intent that Plaintiffs and the other members of the Classes

rely on Defendants’ omissions. As a direct result of Defendants’ fraudulent conduct, Plaintiffs and

the other members of the Classes have suffered actual damages.




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       90.     As a result of Defendants’ failure to disclose to Plaintiffs and the other members

of the Classes the material fact that the FEB system in the Class Vehicles is defective, owners and

lessors of the Class Vehicles are required to spend thousands of dollars to repair or replace the

FEB Defect or sell their vehicles at a substantial loss. The fact that the FEB system in the Class

Vehicles is defective is material because no reasonable consumer expects that he or she will have

to spend thousands of dollars for diagnosis, repair, or replacement of the FEB Defect, and because

Plaintiffs and the other members of the Classes had a reasonable expectation that the vehicles

would not suffer from the FEB Defect.

       91.     The fact that the FEB system installed in the Class Vehicles is defective is also

material because it presents a safety risk and places the driver and occupants at risk of serious

injury or death. Because of the FEB Defect, the Class Vehicles may suddenly brake automatically

while driving in traffic. Drivers and occupants of the Class Vehicles are at risk for rear-end

collisions and other accidents caused by the FEB Defect, and the general public is also at risk for

being involved in an accident with a Class Vehicle. Plaintiffs and the other members of the Classes

would not have purchased the Class Vehicles but for Defendants’ omissions and concealment of

material facts regarding the nature and quality of the Class Vehicles and existence of the FEB

Defect, or would have paid less for the Class Vehicles.

       92.     Defendants knew their concealment and suppression of material facts was false and

misleading and knew the effect of concealing those material facts. Defendants knew their

concealment and suppression of the FEB Defect would sell more Class Vehicles.

       93.     Despite notice of the FEB Defect from, among other things, pre-production testing,

numerous consumer complaints, warranty data, and dealership repair orders, Defendants have not

recalled the Class Vehicles to repair the Defect, have not offered their customers a suitable repair




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or replacement free of charge, and have not offered to reimburse all Class members the costs they

incurred relating to diagnosing and repairing the FEB Defect or for the premium price that they

paid for the FEB feature.

       94.      At minimum, Defendants knew about the FEB Defect by way of customer

complaints filed with affiliated dealerships and through the NHTSA, as extensively documented

above. As such, Defendants acted with malice, oppression, and fraud. Plaintiffs and the other

members of the Classes reasonably relied upon Defendants’ knowing, affirmative and active false

representations, concealment, and omissions. As a direct and proximate result of Defendants’ false

representations, omissions, and active concealment of material facts regarding the FEB Defect,

Plaintiffs and the other members of the Classes have suffered actual damages in an amount to be

determined at trial.

                                            COUNT 2
                                 Breach of Express Warranty
                         (On behalf of Plaintiffs and the proposed Classes)

       95.      Plaintiffs incorporate and reallege each preceding paragraph as though fully set

forth herein.

       96.      Plaintiffs bring this count on behalf of themselves and the other Class members.

       97.      Defendants marketed the Class Vehicles as safe, built to last, and reliable vehicles.

Such representations formed the basis of the bargain in Plaintiffs’ and the other Class members’

decisions to purchase or lease the Class Vehicles.

       98.      Defendants are and were at all relevant times merchants and sellers of motor

vehicles as defined under the Uniform Commercial Code.

       99.      With respect to leases, Defendants are and were at all relevant times lessors of

motor vehicles as defined under the Uniform Commercial Code.




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       100.    The Class Vehicles are and were at all relevant times goods within the meaning of

the Uniform Commercial Code.

       101.    In connection with the purchase or lease of each of the Class Vehicles, Defendants

provide warranty coverage for the Class Vehicles under one or more manufacturer’s warranties.

For illustrative purposes, NNA offers a 36-month or 36,000-mile Basic Warranty that “covers any

repairs needed to correct defects in materials or workmanship of all parts and components of each

new Nissan vehicle supplied by Nissan.” Under warranties provided to Plaintiffs and the other

members of the Classes, Defendants promised to repair or replace defective FEB components

arising out of defects in materials and/or workmanship, such as the FEB Defect, at no cost to

owners or lessors of the Class Vehicles.

       102.    Defendants’ warranties formed a basis of the bargain that was reached when

Plaintiffs and the other members of the Classes purchased or leased their Class Vehicles.

       103.    Despite the existence of the warranties, Defendants failed to inform Plaintiffs and

the other members of the Classes that the Class Vehicles contained the FEB Defect, and, thus,

wrongfully transferred the costs of repair or replacement of the FEB Defect to Plaintiffs and the

other members of the Classes.

       104.    Defendants have failed to provide Plaintiffs or the other members of the Classes

with a meaningful remedy for the FEB Defect, in clear breach of the express warranty described

above, promising to repair and correct a manufacturing defect or defect in materials or

workmanship of any parts they supplied.

       105.    Defendants were provided extensive pre-suit notice of the FEB Defect, and as such

have been afforded a reasonable opportunity to cure their breach of written warranties. Any

additional time to do so would be unnecessary and futile because Defendants have known of and




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concealed the FEB Defect and, on information and belief, have refused to repair or replace the

FEB Defect free of charge despite the FEB Defect’s existence at the time of sale or lease of the

Class Vehicles.

            106.   As a direct and proximate result of Defendants’ breach of express warranties,

Plaintiffs and the other members of the Classes have been damaged in an amount to be determined

at trial.

            107.   Finally, because of Defendants’ breach of express warranty as set forth herein,

Plaintiffs and the other members of the Classes assert, as additional and/or alternative remedies,

the revocation of acceptance of the goods and the return to Plaintiffs and the other members of the

Classes of the purchase or lease price of all Class Vehicles currently owned or leased, and for such

other incidental and consequential damages as allowed.

            108.   On approximately December 17, 2021, Plaintiffs sent Nissan a demand letter via

Certified Mail, Return Receipt Requested, that complied in all respects with UCC § 2-607(a). The

letter informed Nissan of the breaches of warranty described herein, and requested that Nissan

take corrective action. Nissan has refused to comply with any aspect of the letter.

                                              COUNT 3
                                    Breach of Implied Warranty
                           (On behalf of Plaintiffs and the proposed Classes)

            109.   Plaintiffs incorporate and reallege each preceding paragraph as though fully set

forth herein.

            110.   Plaintiffs bring this count on behalf of themselves and the other members of the

Classes.

            111.   Plaintiffs and the other members of the Classes purchased or leased the Class

Vehicles from Defendants by and through their authorized agents for retail sales, or were

otherwise expected to be the eventual purchasers of the Class Vehicles when bought from a third


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party. At all relevant times, Defendants were the manufacturers, distributors, warrantors, and/or

sellers of Class Vehicles. Defendants knew or had reason to know of the specific use for which

the Class Vehicles were purchased or leased.

       112.    Defendants are and were at all relevant times merchants and sellers of motor

vehicles as defined under the Uniform Commercial Code.

       113.    With respect to leases, Defendants are and were at all relevant times lessors of

motor vehicles as defined under the Uniform Commercial Code.

       114.    The Class Vehicles are and were at all relevant times goods within the meaning

of the Uniform Commercial Code.

       115.    Defendants impliedly warranted that the Class Vehicles were in merchantable

condition and fit for the ordinary purpose for which vehicles are used.

       116.    The Class Vehicles, when sold or leased and at all times thereafter, were not in

merchantable condition and are not fit for the ordinary purpose of providing safe and reliable

transportation. The Class Vehicles contain the FEB Defect and present an undisclosed safety

risk to drivers and occupants. Thus, Defendants breached their implied warranty of

merchantability.

       117.    Plaintiff Bareda’s claim under Ohio law is alleged as a breach of implied

warranty in tort. As alleged more fully above, the FEB Defect rendered his car unfit for its

ordinary, intended use; the FEB Defect existed when the product left Defendants’ possession;

and the FEB Defect was the proximate cause of plaintiff’s financial injuries.

       118.    Defendants were provided extensive pre-suit notice of the FEB Defect, and as

such have been afforded a reasonable opportunity to cure their breach of written warranties. Any

additional time to do so would be unnecessary and futile because Defendants have known of and




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concealed the FEB Defect and, on information and belief, have refused to repair or replace the

FEB Defect free of charge despite the FEB Defect’s existence at the time of sale or lease of the

Class Vehicles.

        119.    As a direct and proximate result of Defendants’ breach of the implied warranty of

merchantability, Plaintiffs and the other members of the Classes have been damaged in an amount

to be proven at trial.

                                            COUNT 4
                         Violation of the Magnuson-Moss Warranty Act
                         (On behalf of Plaintiffs and the proposed Classes)

        120.    Plaintiffs incorporate and reallege each preceding paragraph as though fully set

forth herein.

        121.    Plaintiffs bring this count on behalf of themselves and the other members of the

Classes.

        122.    Plaintiffs satisfy the MMWA jurisdictional requirement because they allege

diversity jurisdiction under CAFA, 28 U.S.C. § 1332(d)(2).

        123.    Plaintiffs and the other members of the Class are “consumers” within the meaning

of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(3).

        124.    Defendants are “supplier[s]” and “warrantor[s]” within the meaning of the

Magnuson-Moss Warranty Act, 15 U.S.C. §§ 2301(4)-(5).

        125.    The Class Vehicles are “consumer products” within the meaning of the Magnuson-

Moss Warranty Act, 15 U.S.C. § 2301(1).

        126.    The MMWA provides a cause of action for any consumer who is damaged by the

failure of a warrantor to comply with a written or implied warranty. See 15 U.S.C. § 2310(d)(1).

        127.    Defendants provided Plaintiffs and the other members of the Class with one or

more express warranties, which are covered under 15 U.S.C. § 2301(6). For illustrative purposes,


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NNA offers a 36-month or 36,000-mile Basic Warranty that “covers any repairs needed to correct

defects in materials or workmanship of all parts and components of each new Nissan vehicle

supplied by Nissan.”

       128.      Under warranties provided to Plaintiffs and the other members of the Class,

Defendants promised to repair or replace defective FEB components arising out of defects in

materials and/or workmanship, such as the FEB Defect, at no cost to owners or lessors of the Class

Vehicles. However, Defendants have failed to provide owners with a remedy to the FEB Defect.

       129.      The Class Vehicles’ implied warranties are covered under 15 U.S.C. § 2301(7).

       130.      Defendants breached these warranties by misrepresenting the standard, quality or

grade of the Class Vehicles and failing to disclose and fraudulently concealing the existence of

the FEB Defect. Without limitation, the Class Vehicles share a common defect in design, material,

manufacturing and/or workmanship. Through their issuance of TSBs to their authorized dealers,

Defendants have acknowledged that the Class Vehicles are not of the standard, quality or grade

that Defendants represented at the time of purchase or lease and contain the FEB Defect.

       131.      Plaintiffs and the other members of the Class have had sufficient direct dealings

with Defendants or their agents (dealerships) to establish privity of contract between Defendants,

on the one hand, and Plaintiffs and the other members of the Class, on the other hand. Nonetheless,

privity is not required here because Plaintiffs and each other member of the Class are intended

third-party beneficiaries of contracts between Defendants and their dealers, and specifically, of

their implied warranties. The dealers were not intended to be the ultimate users of the Class

Vehicles and have no rights under the warranty agreements provided with the Class Vehicles; the

warranty agreements were designed for and intended to benefit purchasers and lessors of the Class

Vehicles only.




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        132.    Affording Defendants a reasonable opportunity to cure their breach of written

warranties would be unnecessary and futile. At the time of sale or lease of each Class Vehicle and

all relevant times thereafter, Defendants knew of the material misrepresentations and omissions

concerning the standard, quality or grade of the Class Vehicles and the existence of the FEB

Defect, but failed to remediate the same. Likewise, Defendants failed to disclose the FEB Defect.

Under the circumstances, the remedies available under any informal settlement procedure would

be inadequate and any requirement that Plaintiffs resort to an informal dispute resolution

procedure and/or afford Defendants a reasonable opportunity to cure their breach of warranties is

excused and thereby deemed satisfied.

        133.    The amount in controversy of Plaintiffs’ individual claims meets or exceeds the

sum of $25. The amount in controversy of this action exceeds the sum of $50,000, exclusive of

interest and costs, computed on the basis of all claims to be determined in this lawsuit.

        134.    Plaintiffs, individually and on behalf of the other members of the Classes, seek all

damages permitted by law, including diminution in the value of the Class Vehicles, in an amount

to be proven at trial.

                                            COUNT 5
                                       Unjust Enrichment
                         (On behalf of Plaintiffs and the proposed Classes)

        135.    Plaintiffs incorporate and reallege each preceding paragraph as though fully set

forth herein.

        136.    Plaintiffs bring this count on behalf of themselves and the other members of the

Classes. To the extent required by law, Plaintiffs allege this cause of action in the alternative, as

permitted by Fed. R. Civ. P. 8.




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       137.    Plaintiffs and the other members of the Classes conferred a benefit on Defendants

by leasing or purchasing the Class Vehicles. Defendants were and should have been reasonably

expected to provide Class Vehicles free from the FEB Defect.

       138.    Defendants unjustly profited from the lease and sale of the Class Vehicles at

inflated prices as a result of their false representations, omissions, and concealment of the FEB

Defect in the Class Vehicles.

       139.    As a proximate result of Defendants’ false representations, omissions, and

concealment of the FEB Defect in the Class Vehicles, and as a result of Defendants’ ill-gotten

gains, benefits and profits, Defendants have been unjustly enriched at the expense of Plaintiffs

and the other members of the Classes. It would be inequitable for Defendants to retain their ill-

gotten profits without paying the value thereof to Plaintiffs and the other members of the Classes.

       140.    There is a direct relationship between Defendants on the one hand, and Plaintiffs

and the other class members on the other, sufficient to support a claim for unjust enrichment.

Defendants, acting in concert, failed to disclose the FEB Defect to improve retail sales, which in

turn improved wholesale sales. Conversely, Defendants knew that disclosure of the FEB Defect

would suppress retail and wholesale sales of the Class Vehicles, suppress leasing of the Class

Vehicles, and would negatively impact the reputation of Defendants’ brand among Plaintiffs and

the other Class members. Defendants also knew their concealment and suppression of the FEB

Defect would discourage Plaintiffs and the other Class members from seeking replacement or

repair concerning the FEB Defect, thereby increasing profits and/or avoiding the cost of such

replacement or repairs.




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       141.    Plaintiffs and the other members of the Classes are entitled to restitution of the

amount of Defendants’ ill-gotten gains, benefits and profits, including interest, resulting from their

unlawful, unjust and inequitable conduct.

       142.    Plaintiffs and the other members of the Classes seek an order requiring Defendants

to disgorge their gains and profits to Plaintiffs and the other members of the Classes, together with

interest, in a manner to be determined by the Court.

                                           COUNT 6
                   Violation of California’s Consumer Legal Remedies Act,
                                (Cal. Civil Code § 1750 et seq.)
                    (On behalf of the California Plaintiff and proposed Class)

       143.    Plaintiff Hoeffken (“Plaintiff” for the purpose of this Count) incorporates by

reference each preceding paragraph as though fully set forth herein.

       144.    Plaintif brings this claim on behalf of herself and the other members of the

California Class (“Class” for purposes of this Count).

       145.    NNA is a “person” as defined by California Civil Code § 1761(c). NMC is a

“person” as defined by California Civil Code § 1761(c).

       146.    Plaintiff and the other California Class Members are “consumers” within the

meaning of California Civil Code § 1761(d).

       147.    By failing to disclose and concealing the defective nature of the Class Vehicles’

FEBs from Plaintiff and the other members of the Class, Defendants violated California Civil

Code § 1770(a), as they represented that the Class Vehicles had characteristics and benefits that

they do not have, represented that the Class Vehicles were of a particular standard, quality, or

grade when they were of another, and advertised the Class Vehicles with the intent not to sell them

as advertised. See Cal. Civ. Code §§ 1770(a)(5), (7) & (9).




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        148.   Defendants’ unfair and deceptive acts or practices occurred repeatedly in

Defendants’ trade or business, were capable of deceiving a substantial portion of the purchasing

public and imposed a serious safety risk on the public.

        149.   Defendants knew that the Class Vehicles’ FEB systems suffered from an inherent

defect, were defectively designed or manufactured, would fail prematurely, and were not suitable

for their intended use.

        150.   Defendants were under a duty to Plaintiff and the other members of the Class to

disclose the defective nature of the Class Vehicles’ FEB systems and/or the associated repair costs

because: a) Defendants were in a superior position to know the true state of facts about the safety

defect contained in the Class Vehicles’ FEBs; b) Plaintiff and the other members of the California

Class could not reasonably have been expected to learn or discover that their FEBs have a

dangerous safety defect until after they purchased the Class Vehicles; and c) Defendants knew

that Plaintiff and the other members of the California Class could not reasonably have been

expected to learn about or discover the FEB Defect.

        151.   By failing to disclose the FEB Defect, Defendants knowingly and intentionally

concealed material facts and breached their duty not to do so.

        152.   The facts concealed or not disclosed by Defendants to Plaintiff and the other

members of the Class are material because a reasonable consumer would have considered them to

be important in deciding whether or not to purchase the Class Vehicles, or to pay less for them.

Had Plaintiffs and the other members of the California Class known that the Class Vehicles’ FEBs

were defective, they would not have purchased the Class Vehicles or would have paid less for

them.




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       153.    Plaintiff and the other members of the California Class are reasonable consumers

who do not expect that their vehicles will suffer from a FEB Defect. That is the reasonable and

objective consumer expectation for vehicles and their FEB systems.

       154.    As a result of Defendants’ misconduct, Plaintiff and the other members of the

California Class have been harmed and have suffered actual damages in that the Class Vehicles

and their FEB systems are defective and require repairs or replacement.

       155.    As a direct and proximate result of Defendants’ unfair or deceptive acts or

practices, Plaintiff and the other members of the California Class have suffered and will continue

to suffer actual damages.

       156.    Defendants were provided extensive pre-suit notice of the FEB Defect, and as such

have been afforded a reasonable opportunity to cure their breach of written warranties. Any

additional time to do so would be unnecessary and futile because Defendants have known of and

concealed the FEB Defect and, on information and belief, have refused to repair or replace the

FEB Defect free of charge despite the FEB Defect’s existence at the time of sale or lease of the

Class Vehicles.

       157.    Plaintiff seeks all available relief under the CLRA for all violations complained of

herein, including, but not limited to, damages, punitive damages, attorneys’ fees and cost and any

other relief that the Court deems proper.

       158.    Accordingly, Plaintiff and the other members of the Class seek an order enjoining

the acts and practices described above.




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                                           COUNT 7
                  Violation of California’s Unfair Competition Law (“UCL”)
                               (Cal. Bus. & Prof. Code § 17200)
                   (On behalf of the California Plaintiff and proposed Classes)

       159.    Plaintiff Hoeffken (“Plaintiff” for the purpose of this Count) incorporates by

reference each preceding paragraph as though fully set forth herein.

       160.    Plaintiff brings this claim on behalf of herself and the other members of the

California Class (“Class” for purposes of this Count).

       161.    California Business & Professions Code Section 17200 prohibits acts of “unfair

competition,” including any “unlawful, unfair or fraudulent business act or practice” and “unfair,

deceptive, untrue or misleading advertising.”

       162.    Defendants knew that the Class Vehicles’ FEB systems suffered from an inherent

defect, were defectively designed and/or manufactured, would fail prematurely, and were not

suitable for their intended use.

       163.    In failing to disclose the FEB Defect, Defendants knowingly and intentionally

concealed material facts and breached their duty not to do so, thereby engaging in a fraudulent

business act or practice within the meaning of the UCL.

       164.    Defendants were under a duty to Plaintiff and the other members of the Class to

disclose the defective nature of the Class Vehicles’ FEB systems because: a) Defendants were in

a superior position to know the true state of facts about the safety defect in the Class Vehicles’

FEB systems; b) Defendants made partial disclosures about the quality of the Class Vehicles

without revealing the defective nature of the Class Vehicles’ FEB systems; and c) Defendants

actively concealed the defective nature of the Class Vehicles’ FEB systems from Plaintiff and the

other Class Members at the time of sale and thereafter.




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       165.    The facts concealed or not disclosed by Defendants to Plaintiff and the other

members of the Class are material because a reasonable person would have considered them to be

important in deciding whether or not to purchase or lease Defendants’ Class Vehicles, or to pay

less for them. Had Plaintiff and the other members of the Class known that the Class Vehicles

suffered from the FEB Defect described herein, they would not have purchased or leased the Class

Vehicles or would have paid less for them.

       166.    Defendants continued to conceal the defective nature of the Class Vehicles and

their FEB systems even after Plaintiff and the other members of the Class began to report

problems. Indeed, Defendants continue to cover up and conceal the true nature of this systematic

problem today.

       167.    Defendants’ omissions of material facts, as set forth herein, also constitute “unfair”

business acts and practices within the meaning of the UCL, in that Defendants’ conduct was

injurious to consumers, offended public policy, and was unethical and unscrupulous. Plaintiff also

asserts a violation of public policy arising from Defendants’ withholding of material safety facts

from consumers. Defendants’ violation of consumer protection and unfair competition laws

resulted in harm to consumers.

       168.    Defendants’ omissions of material facts, as set forth herein, also constitute

unlawful business acts or practices because they violate consumer protection laws, warranty laws

and the common law as set forth herein.

       169.    Thus, by their conduct, Defendants have engaged in unfair competition and

unlawful, unfair, and fraudulent business practices.




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       170.    Defendants’ unfair or deceptive acts or practices occurred repeatedly in

Defendants’ trade or business, and were capable of deceiving a substantial portion of the

purchasing public.

       171.    Defendants were provided extensive pre-suit notice of the FEB Defect, and as such

have been afforded a reasonable opportunity to cure their breach of written warranties. Any

additional time to do so would be unnecessary and futile because Defendants have known of and

concealed the FEB Defect and, on information and belief, have refused to repair or replace the

FEB Defect free of charge despite the FEB Defect’s existence at the time of sale or lease of the

Class Vehicles.

       172.    As a direct and proximate result of Defendants’ unfair and deceptive practices,

Plaintiff and the other members of the Class have suffered and will continue to suffer actual

damages.

       173.    Defendants have been unjustly enriched and should be required to make restitution

to Plaintiff and the other members of the Class pursuant to sections 17203 and 17204 of the

Business & Professions Code.

                                            COUNT 8
                  Breach of Implied Warranty Under the Song-Beverly Act,
                                  Cal. Civ. Code § 1790 et seq.
                   (On behalf of the California Plaintiff and proposed Classes)

       174.    Plaintiff Hoeffken (“Plaintiff” for the purpose of this Count) incorporates by

reference each preceding paragraph as though fully set forth herein.

       175.    Plaintiff brings this claim on behalf of herself and the other members of the

California Class (“Class” for purposes of this Count).




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        176.    Under the Song-Beverly Consumer Warranty Act, Cal. Civ. Code § 1790, et seq.,

every sale of consumer goods in California is accompanied by both a manufacturer’s and retail

seller’s implied warranty that the goods are merchantable, as defined in that Act.

        177.    The Class Vehicles at issue here are “consumer goods” within the meaning of Cal.

Civ. Code § 1791(a).

        178.    Plaintiff and the California Class members who purchased the Class Vehicles are

“retail buyers” within the meaning of Cal. Civ. Code § 1791.

        179.    Defendants are in the business of manufacturing, assembling, producing and/or

selling the Class Vehicles to retail buyers, and therefore are a “manufacturer” and “seller” within

the meaning of Cal. Civ. Code § 1791.

        180.    Defendants impliedly warranted that the Class Vehicles were in merchantable

condition and fit for the ordinary purpose for which vehicles are used.

        181.    The Class Vehicles, when sold or leased and at all times thereafter, were not in

merchantable condition and are not fit for the ordinary purpose of providing safe and reliable

transportation. The Class Vehicles contain the FEB Defect and present an undisclosed safety risk

to drivers and occupants.

        182.    The Class Vehicles were defective at the time of sale when they left the exclusive

control of Defendants or their agents.

        183.    Even if Defendants’ express warranty purportedly included a disclaimer, the

disclaimer was legally insufficient to bar this claim. Under section 1792.3 of the Song-Beverly

Act, implied warranties of merchantability and fitness may only be waived when the sale of

consumer goods is made on an “as is” or “with all faults” basis. The Class Vehicles were not sold

on an “as is” or “with all faults” basis.




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        184.   As a direct and proximate cause of Defendants’ violation of the Song-Beverly Act,

Plaintiffs and California Class members have been injured and harmed because they would not

have purchased Class Vehicles if they knew about the defect at issue here.

        185.   Plaintiff Hoeffken and the California Class members seek all relief available under

the Song-Beverly Act.

                                           COUNT 9
                                Violations of the North Carolina
                          Unfair and Deceptive Trade Practices Act
                               (N.C. Gen. Stat. §§ 75-1.1, et seq.)
               (On behalf of the North Carolina Plaintiff and the proposed Classes)

        186.   Plaintiff Neri (“Plaintiff,” for purposes of the North Carolina Class’s claims)

incorporates by reference each preceding paragraph as though fully set forth herein.

        187.   Plaintiff brings this Count individually and on behalf of the other members of the

North Carolina Class (the “Class,” for purposes of this Count).

        188.   Nissan engaged in unlawful, unfair, and deceptive trade practices in violation of the

North Carolina Unfair and Deceptive Trade Practices Act by advertising, selling, and warranting

the defective Class Vehicles.

        189.   Nissan knew that the Class Vehicles suffered from the FEB Defect that can result

in sudden and unexpected braking during operation.

        190.   In advertising, selling, and warranting the Class Vehicles, Nissan omitted material

facts concerning the FEB Defect that can result in sudden and unexpected braking engine damage.

Nissan failed to give Plaintiff and the other Class members sufficient notice or warning regarding

this defect.

        191.   Nissan intended that Plaintiff and the other Class members rely upon Nissan’s

omissions when purchasing the Class Vehicles.




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       192.    Plaintiff and the other Class members were deceived by Nissan’s concealment of

the defect.

       193.    Nissan’s conduct was in commerce and affected commerce.

       194.    Defendants were provided extensive pre-suit notice of the FEB Defect, and as such

have been afforded a reasonable opportunity to cure their breach of written warranties. Any

additional time to do so would be unnecessary and futile because Defendants have known of and

concealed the FEB Defect and, on information and belief, have refused to repair or replace the

FEB Defect free of charge despite the FEB Defect’s existence at the time of sale or lease of the

Class Vehicles.

       195.    As a direct and proximate result of these unfair, willful, unconscionable, and

deceptive commercial practices, Plaintiff and the other Class members have been damaged and are

entitled to recover actual and treble damages, as well as attorneys’ fees and costs, and all other

relief allowed under N.C. Gen. Stat §§ 75-16 and 75-16.1.

                                         COUNT 10
                            Ohio Consumer Sales Practices Act
                         (Ohio Rev. Code Ann. §§ 1345.01, et seq.)
                   (On behalf of the Ohio Plaintiff and the proposed Classes)

       196.    Plaintiff Bereda (“Plaintiff,” for purposes of the Ohio Class’s claims) incorporates

by reference each preceding paragraph as though fully set forth herein.

       197.    Plaintiff brings this Count individually and on behalf of the other members of the

Ohio Class (the “Class,” for purposes of this Count).

       198.    Nissan, Plaintiff, and the other Class members are “persons” within the meaning of

Ohio Rev. Code Ann. § 145.01(B). Nissan is a “supplier” as defined by Ohio Rev. Code Ann. §

1345.01(c).




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       199.    Plaintiff and the other Class members are “consumers” as that term is defined in

Ohio Rev. Code Ann. § 1345.01(D), and their purchase and lease of the Class Vehicles are

“consumer transactions” within the meaning of Ohio Rev. Code Ann. § 1345.01(A).

       200.    Ohio Rev. Code Ann. § 1345.02 prohibits unfair or deceptive acts or practices in

connection with consumer transactions.

       201.    In the course of Nissan’s business, Nissan violated the Ohio Consumer Sales

Practices Act (“CSPA”) by selling Class Vehicles with the FEB Defect, which can cause sudden

or unexpected braking, or negligently concealing or suppressing material facts concerning the FEB

Defect in the Class Vehicles.

       202.    Further, as a result of placing a defective product into the stream of commerce,

Nissan has breached its implied warranty in tort, which is an unfair and deceptive act, as defined

in Ohio Rev. Code Ann. § 1345.02(B).

       203.    Nissan has committed unfair and deceptive acts in violation of the Ohio CSPA by

knowingly placing into the stream of commerce the Class Vehicles with the FEB Defect.

       204.    Moreover, Nissan has committed an unfair and deceptive act by knowingly

concealing the FEB Defect in the Class Vehicles and failing to inform Plaintiff and the other Class

members of this defect.

       205.    Nissan’s unfair or deceptive acts or practices were likely to, and did, in fact, deceive

consumers, including Plaintiff and the other Class members, about the true reliability,

dependability, efficiency, and quality of the Class Vehicles.

       206.    Plaintiff and the other Class members suffered ascertainable loss and actual

damages as a direct result of Nissan’s concealment of and failure to disclose material information,

namely, the FEB Defect. Plaintiff and the other Class members who purchased or leased the Class




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Vehicles would not have done so, or would have paid significantly less, if the true nature of the

Class Vehicles had been disclosed. Plaintiff and the other Class members also suffered diminished

value of their vehicles.

       207.    As described at length above, Defendants were provided extensive pre-suit notice

of the FEB Defect, and as such have been afforded a reasonable opportunity to cure their breach

of written warranties. Any additional time to do so would be unnecessary and futile because

Defendants have known of and concealed the FEB Defect and, on information and belief, have

refused to repair or replace the FEB Defect free of charge despite the FEB Defect’s existence at

the time of sale or lease of the Class Vehicles.

       208.    The Ohio Attorney General has made available for public inspection prior state

court decisions which held that the acts and omissions of Defendants as detailed in this Complaint,

including, but not limited to, the failure to honor both its implied and express warranties; and the

concealment and/or non-disclosure of a substantial defect, constitute deceptive sales practices in

violation of the CSPA. These cases include, but are not limited to, the following:

           a. Staten v. Eppy's Nissan/Yugo, Inc. (OPIF #10001019)

           b. Mason v. Mercedes Benz USA, LLC (OPIF #10002382);

           c. State ex rel. Betty D. Montgomery v. Ford Motor co. (OPIF #10002123);

           d. State ex rel. Betty D. Montgomery v. Bridgestone/Firestone, Inc. (OPIF

               #10002025);

           e. Borror v. MarineMax of Ohio, No. OT-06-010, 2007 Ohio App. LEXIS 525 (Ohio

               Ct. App. Feb. 9, 2007) (OPIF #10002388);

           f. State ex rel. Jim Petro v. Craftmatic Organization, Inc. (OPIF #10002347);

           g. Brown v. Spears (OPIF #10000403);




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            h. Brinkman v. Mazda Motor of America, Inc. (OPIF #10001427);

            i. Mosley v. Performance Mitsubishi AKA Automanage (OPIF #10001326); and

            j. Walls v. Harry Williams dba Butch’s Auto Sales (OPIF #10001524).

       209.    Nissan is liable to Plaintiff and the other Class members for compensatory damages,

injunctive/equitable relief, and attorneys’ fees pursuant to Ohio Rev. Code Ann. § 1345.09.

                                     PRAYER FOR RELIEF

     WHEREFORE, Plaintiffs demand judgment on behalf of themselves and the other
members of the Classes as follows:

       A.      For an order certifying the Classes under Rule 23 of the Federal Rules of Civil
               Procedure; naming Plaintiffs as Class representatives; and naming Plaintiffs’
               attorneys as Class Counsel representing the Class members;

       B.      For an order finding in favor of Plaintiffs and the other Class members on all counts
               asserted herein;

       C.      For an order awarding statutory, compensatory, treble, and punitive damages in
               amounts to be determined by the Court and/or jury;

       D.      For injunctive relief enjoining the illegal acts detailed herein;

       E.      For prejudgment interest on all amounts awarded;

       F.      For an order of restitution and all other forms of equitable monetary relief; and

       G.      For an order awarding Plaintiffs their reasonable attorneys’ fees and expenses and
               costs of suit.

                                   JURY TRIAL DEMANDED

       Plaintiffs demand a trial by jury on all claims so triable.

Dated: February 14, 2022                        Respectfully submitted,


                                           By: /s/ Benjamin A. Gastel
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